                 Case 2:24-cv-01349-NR Document 29-5 Filed 10/07/24 Page 1 of 27


Everhart, Ian

From:                Matt Haverstick <mhaverstick@kleinbard.com>
Sent:                Thursday, August 1, 2024 4:21 PM
To:                  Kotula, Kathleen
Cc:                  Shohin Vance
Subject:             [External] Elector affidavits
Attachments:         Combined Affidavits and Declarations.pdf


ATTENTION: This email message is from an external sender. Do not open links or attachments from unknown senders. To
report suspicious email, use the Report Phishing button in Outlook.

Ms. Kotula:

Please see the attached elector affidavits. We’d like to discuss with you how to handle these electors. Are you free
tomorrow?


Matthew H. Haverstick
Managing Partner
Kleinbard LLC

Three Logan Square, 5th Floor
1717 Arch Street |Philadelphia, PA 19103
D | 215.496.7225
M| 484.753.1355
F | 215.568.0140
E | mhaverstick@kleinbard.com
W| www.kleinbard.com


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                                                             1
Docusign Envelope ID: D4502185-5175-4F2F-A333-59E4293D412E
                         Case 2:24-cv-01349-NR           DocumentOF
                                               COMMONWEALTH       29-5 Filed 10/07/24
                                                                    PENNSYLVANIA                          Page 2 of 27

                                                                                                                           PB
            DSBE-PBCA (rev. 2/24)
                                                            DEPARTMENT OF STATE
                                                               Bureau of Elections
                                                POLITICAL BODY CANDIDATE’S AFFIDAVIT
          COMMONWEALTH OF PENNSYLVANIA
                         Delaware
          COUNTY OF _________________________
                  Steele                    David
          Name: _______________________,_________________________________,_________________________,________
                             Last Name                              First Name                    Middle Name or Initial      Suffix
                                1308 Edgewood Rd.
          Residential Address: ____________________________________________________________________________
                 Havertown
          City: _________________________________________________            PA
                                                                    State: _______            19083
                                                                                   Zip Code: ___________________
                                                   Haverford Township
          Municipality (City, Boro, or Township): _________________________________________ Gender: F □ M □
                                                                                                          X NB □
          Mailing Address (if different from residential): ___________________________________________________________
          City: _________________________________________________ State: _______ Zip Code: ___________________
                                                                               Delaware County
          Election District of Candidate (district where registered to vote): _____________________________________________
                                                        Presidential Elector
          Office for which you are seeking nomination: ___________________________________________________________
                            steelecarpentry@gmail.com
          Email address: ___________________________________________________________________________________
                                                  David Steele
          Name as it is to appear on the Ballot: __________________________________________________________________

          CANDIDATE’S AFFIDAVIT - I do swear (or affirm) that my residence, my election district and the name of the office
          for which I desire to be a candidate are as specified below, that I am eligible for said office, and that I will not knowingly
          violate any election law or any law regulating and limiting nomination and election expenses, and prohibiting corrupt
          practices in connection therewith; that I am aware of the provisions of Section 1626 of the Pennsylvania Election Code
          requiring pre-election and post-election reporting of campaign contributions and expenditures; that my name has not been
          presented as a candidate by nomination petitions for any public office to be voted for at the ensuing primary election, nor
          have I been nominated by any other nomination papers for any such office; that if I am a candidate for election at a general
          or municipal election I shall not be a registered and enrolled member of a political party at any time during the period of
          thirty (30) days prior to the primary up to and including the day of the following general or municipal election, or if I am
          a candidate for election at a special election I am not a registered and enrolled member of a political party; that I am not
          a candidate for an office which I already hold, the term of which is not set to expire in the same year as the office subject
          to this affidavit.
                                                                                     I swear (or affirm) to the above parts as required
          Sworn (or affirmed) and subscribed before me this                          by the laws applicable to the office I seek.

           _______day of_____________20___________
           ______________________________________                                _________________________________________
               Signature of Officer Administering Affirmation                                    Signature of Candidate
                                                                                          (610) 457-1277
           ______________________________________                                _________________________________________
                               Official Title                                                      Telephone Number
                                                                                          Delaware County
           My commission expires___________________                              _________________________________________
                                                                                                  County of Residence

                                                                   OFFICE USE ONLY

                     COUNTY CODE         $____________________              F        _            M
                                          __AMOUNT RECEIVED


            OFFICE             DISTRICT                POLITICAL                 NUMBER OF
                                                        PARTY                      PAPERS
                                                                                                       COMMENTS

                                                CHECKER                  INPUT                   VERIFY
Docusign Envelope ID: D4502185-5175-4F2F-A333-59E4293D412E
                           Case 2:24-cv-01349-NR Document 29-5 Filed 10/07/24 Page 3 of 27




                                                    Bureau of Elections 717-787-5280


                              CANDIDATE DECLARATION to be attached to CANDIDATE’S AFFIDAVIT
                                         where notarized statement is not available

             CANDIDATE DECLARATION - I declare that my residence, my election district and the title of the
             office for which I desire to be a candidate are as contained in the attached document, that I am
             eligible for said office, that I will not knowingly violate any election law or any law regulating
             and limiting nomination and election expenses, and prohibiting corrupt practices in connection
             therewith; that I am aware of the provisions of Section 1626 of the Pennsylvania Election Code
             requiring pre-election and post-election reporting of campaign contributions and expenditures;
             that unless I am a candidate for Judge of a Court of Common Pleas, the Philadelphia Municipal
             Court or the office of school board in a district where that office is elective or the office of
             magisterial district judge, my name has not been presented as a candidate by nomination
             petitions of any other party for the same office; that if I am a candidate for any office of a
             political party I am a registered and enrolled member of such party; that if I am a candidate for
             Committee Delegate or Alternate Delegate to the National Convention the name of the
             candidate to whom I am committed is as indicated on my nomination petition and that my
             signature on the Delegate's Statement was affixed to each page of my nomination petition prior
             to circulation of same; that I am not a candidate for an office which I already hold, the term of
             which is not set to expire on the same year as the office subject to the accompanying affidavit.


             I declare under penalty of perjury under the law of the Commonwealth of Pennsylvania that the
             foregoing is true and correct.

             Signed on the 31               (date) day of    July     (month), 2024      (year), at
            Delaware County, PA           (county or other location, and state), USA     (country).


                                                 David Steele
                                               (printed name)


                                               (signature)


             (rev. 2/21)
                        Case 2:24-cv-01349-NR Document 29-5 Filed 10/07/24 Page 4 of 27


Certificate Of Completion
Envelope Id: D450218551754F2FA33359E4293D412E                                              Status: Completed
Subject: Complete with Docusign: David Steele - PA Elector Affidavit and Declaration.pdf
Source Envelope:
Document Pages: 2                                   Signatures: 2                          Envelope Originator:
Certificate Pages: 2                                Initials: 0
AutoNav: Enabled
EnvelopeId Stamping: Enabled
Time Zone: (UTC-06:00) Central Time (US & Canada)



Record Tracking
Status: Original                                    Holder:                                Location: DocuSign
        7/31/2024 2:34:06 PM

Signer Events                                       Signature                              Timestamp
David Steele                                                                               Sent: 7/31/2024 2:35:42 PM
steelecarpentry@gmail.com                                                                  Viewed: 7/31/2024 4:42:35 PM
Security Level: Email, Account Authentication                                              Signed: 7/31/2024 4:42:41 PM
(None)
                                                    Signature Adoption: Drawn on Device
                                                    Using IP Address: 174.198.8.0
                                                    Signed using mobile
Electronic Record and Signature Disclosure:
   Not Offered via DocuSign


In Person Signer Events                             Signature                              Timestamp

Editor Delivery Events                              Status                                 Timestamp

Agent Delivery Events                               Status                                 Timestamp

Intermediary Delivery Events                        Status                                 Timestamp

Certified Delivery Events                           Status                                 Timestamp

Carbon Copy Events                                  Status                                 Timestamp
                                                                                           Sent: 7/31/2024 2:35:42 PM
                                                                                           Viewed: 8/1/2024 8:04:49 AM
Security Level: Email, Account Authentication
(None)
Electronic Record and Signature Disclosure:
   Not Offered via DocuSign

                                                                                           Sent: 7/31/2024 2:35:42 PM


Security Level: Email, Account Authentication
(None)
Electronic Record and Signature Disclosure:
   Not Offered via DocuSign


Witness Events                                      Signature                              Timestamp

Notary Events                                       Signature                              Timestamp

Envelope Summary Events                             Status                                 Timestamps
                      Case 2:24-cv-01349-NR Document 29-5 Filed 10/07/24 Page 5 of 27

Envelope Summary Events               Status                        Timestamps
Envelope Sent                         Hashed/Encrypted              7/31/2024 2:35:42 PM
Certified Delivered                   Security Checked              7/31/2024 4:42:35 PM
Signing Complete                      Security Checked              7/31/2024 4:42:41 PM
Completed                             Security Checked              7/31/2024 4:42:41 PM

Payment Events                        Status                        Timestamps
Case 2:24-cv-01349-NR Document 29-5 Filed 10/07/24 Page 6 of 27
Docusign Envelope ID: 9D12ADB1-55CF-4186-974E-614D39010790
                           Case 2:24-cv-01349-NR Document 29-5 Filed 10/07/24 Page 7 of 27




                                                   Bureau of Elections 717-787-5280


                              CANDIDATE DECLARATION to be attached to CANDIDATE’S AFFIDAVIT
                                         where notarized statement is not available

             CANDIDATE DECLARATION - I declare that my residence, my election district and the title of the
             office for which I desire to be a candidate are as contained in the attached document, that I am
             eligible for said office, that I will not knowingly violate any election law or any law regulating
             and limiting nomination and election expenses, and prohibiting corrupt practices in connection
             therewith; that I am aware of the provisions of Section 1626 of the Pennsylvania Election Code
             requiring pre-election and post-election reporting of campaign contributions and expenditures;
             that unless I am a candidate for Judge of a Court of Common Pleas, the Philadelphia Municipal
             Court or the office of school board in a district where that office is elective or the office of
             magisterial district judge, my name has not been presented as a candidate by nomination
             petitions of any other party for the same office; that if I am a candidate for any office of a
             political party I am a registered and enrolled member of such party; that if I am a candidate for
             Committee Delegate or Alternate Delegate to the National Convention the name of the
             candidate to whom I am committed is as indicated on my nomination petition and that my
             signature on the Delegate's Statement was affixed to each page of my nomination petition prior
             to circulation of same; that I am not a candidate for an office which I already hold, the term of
             which is not set to expire on the same year as the office subject to the accompanying affidavit.


             I declare under penalty of perjury under the law of the Commonwealth of Pennsylvania that the
             foregoing is true and correct.

             Signed on the 31               (date) day of July       (month), 2024       (year), at

            Northampton County, PA (county or other location, and state), USA            (country).


                                                 Michael Miller-Cywinski
                                               (printed name)


                                               (signature)


             (rev. 2/21)
                          Case 2:24-cv-01349-NR Document 29-5 Filed 10/07/24 Page 8 of 27


Certificate Of Completion
Envelope Id: 9D12ADB155CF4186974E614D39010790                                                         Status: Completed
Subject: Complete with Docusign: Michael Miller-Cywinski - PA Elector Affidavit and Declaration.pdf
Source Envelope:
Document Pages: 2                                   Signatures: 2                                     Envelope Originator:
Certificate Pages: 2                                Initials: 0
AutoNav: Enabled
EnvelopeId Stamping: Enabled
Time Zone: (UTC-06:00) Central Time (US & Canada)



Record Tracking
Status: Original                                    Holder:                                           Location: DocuSign
        7/31/2024 2:37:47 PM

Signer Events                                       Signature                                         Timestamp
Michael Miller-Cywinski                                                                               Sent: 7/31/2024 2:39:02 PM
mrbluepie@gmail.com                                                                                   Viewed: 7/31/2024 4:19:30 PM
Security Level: Email, Account Authentication                                                         Signed: 7/31/2024 4:20:15 PM
(None)
                                                    Signature Adoption: Drawn on Device
                                                    Using IP Address: 168.91.163.22


Electronic Record and Signature Disclosure:
   Not Offered via DocuSign


In Person Signer Events                             Signature                                         Timestamp

Editor Delivery Events                              Status                                            Timestamp

Agent Delivery Events                               Status                                            Timestamp

Intermediary Delivery Events                        Status                                            Timestamp

Certified Delivery Events                           Status                                            Timestamp

Carbon Copy Events                                  Status                                            Timestamp
                                                                                                      Sent: 7/31/2024 2:39:02 PM


Security Level: Email, Account Authentication
(None)
Electronic Record and Signature Disclosure:
   Not Offered via DocuSign

                                                                                                      Sent: 7/31/2024 2:39:02 PM


Security Level: Email, Account Authentication
(None)
Electronic Record and Signature Disclosure:
   Not Offered via DocuSign


Witness Events                                      Signature                                         Timestamp

Notary Events                                       Signature                                         Timestamp

Envelope Summary Events                             Status                                            Timestamps
                      Case 2:24-cv-01349-NR Document 29-5 Filed 10/07/24 Page 9 of 27

Envelope Summary Events               Status                        Timestamps
Envelope Sent                         Hashed/Encrypted              7/31/2024 2:39:02 PM
Certified Delivered                   Security Checked              7/31/2024 4:19:30 PM
Signing Complete                      Security Checked              7/31/2024 4:20:15 PM
Completed                             Security Checked              7/31/2024 4:20:15 PM

Payment Events                        Status                        Timestamps
Case 2:24-cv-01349-NR Document 29-5 Filed 10/07/24 Page 10 of 27
Docusign Envelope ID: 8BC8AA4D-E1FC-4601-94DD-9510B9F8B1F9
                          Case 2:24-cv-01349-NR Document 29-5 Filed 10/07/24 Page 11 of 27




                                                  Bureau of Elections 717-787-5280


                             CANDIDATE DECLARATION to be attached to CANDIDATE’S AFFIDAVIT
                                        where notarized statement is not available

            CANDIDATE DECLARATION - I declare that my residence, my election district and the title of the
            office for which I desire to be a candidate are as contained in the attached document, that I am
            eligible for said office, that I will not knowingly violate any election law or any law regulating
            and limiting nomination and election expenses, and prohibiting corrupt practices in connection
            therewith; that I am aware of the provisions of Section 1626 of the Pennsylvania Election Code
            requiring pre-election and post-election reporting of campaign contributions and expenditures;
            that unless I am a candidate for Judge of a Court of Common Pleas, the Philadelphia Municipal
            Court or the office of school board in a district where that office is elective or the office of
            magisterial district judge, my name has not been presented as a candidate by nomination
            petitions of any other party for the same office; that if I am a candidate for any office of a
            political party I am a registered and enrolled member of such party; that if I am a candidate for
            Committee Delegate or Alternate Delegate to the National Convention the name of the
            candidate to whom I am committed is as indicated on my nomination petition and that my
            signature on the Delegate's Statement was affixed to each page of my nomination petition prior
            to circulation of same; that I am not a candidate for an office which I already hold, the term of
            which is not set to expire on the same year as the office subject to the accompanying affidavit.


            I declare under penalty of perjury under the law of the Commonwealth of Pennsylvania that the
            foregoing is true and correct.

            Signed on the 31               (date) day of July        (month), 2024      (year), at

             Philadelphia County, PA (county or other location, and state),   USA       (country).


                                                Nicole Kelley Kleinberg
                                              (printed name)


                                              (signature)


            (rev. 2/21)
                       Case 2:24-cv-01349-NR Document 29-5 Filed 10/07/24 Page 12 of 27


Certificate Of Completion
Envelope Id: 8BC8AA4DE1FC460194DD9510B9F8B1F9                                                  Status: Completed
Subject: Complete with Docusign: Nicole Kleinberg - PA Elector Affidavit and Declaration.pdf
Source Envelope:
Document Pages: 2                                   Signatures: 2                              Envelope Originator:
Certificate Pages: 2                                Initials: 0
AutoNav: Enabled
EnvelopeId Stamping: Enabled
Time Zone: (UTC-06:00) Central Time (US & Canada)

Record Tracking
Status: Original                                    Holder:                                    Location: DocuSign
        7/31/2024 2:10:55 PM

Signer Events                                       Signature                                  Timestamp
Nicole Kleinberg                                                                               Sent: 7/31/2024 2:12:27 PM
NikkiKelleyKleinberg@gmail.com                                                                 Viewed: 7/31/2024 2:13:34 PM
Security Level: Email, Account Authentication                                                  Signed: 7/31/2024 2:13:53 PM
(None)
                                                    Signature Adoption: Pre-selected Style
                                                    Using IP Address: 104.28.76.125
                                                    Signed using mobile
Electronic Record and Signature Disclosure:
   Not Offered via DocuSign


In Person Signer Events                             Signature                                  Timestamp

Editor Delivery Events                              Status                                     Timestamp

Agent Delivery Events                               Status                                     Timestamp

Intermediary Delivery Events                        Status                                     Timestamp

Certified Delivery Events                           Status                                     Timestamp

Carbon Copy Events                                  Status                                     Timestamp
                                                                                               Sent: 7/31/2024 2:12:28 PM
                                                                                               Viewed: 7/31/2024 2:18:08 PM
Security Level: Email, Account Authentication
(None)
Electronic Record and Signature Disclosure:
   Not Offered via DocuSign

                                                                                               Sent: 7/31/2024 2:12:28 PM


Security Level: Email, Account Authentication
(None)
Electronic Record and Signature Disclosure:
   Not Offered via DocuSign


Witness Events                                      Signature                                  Timestamp

Notary Events                                       Signature                                  Timestamp

Envelope Summary Events                             Status                                     Timestamps
Envelope Sent                                       Hashed/Encrypted                           7/31/2024 2:12:28 PM
                      Case 2:24-cv-01349-NR Document 29-5 Filed 10/07/24 Page 13 of 27

Envelope Summary Events               Status                         Timestamps
Certified Delivered                   Security Checked               7/31/2024 2:13:34 PM
Signing Complete                      Security Checked               7/31/2024 2:13:53 PM
Completed                             Security Checked               7/31/2024 2:13:53 PM

Payment Events                        Status                         Timestamps
Case 2:24-cv-01349-NR Document 29-5 Filed 10/07/24 Page 14 of 27
Docusign Envelope ID: F0946658-EF2E-46F5-905F-8CF976D5064A
                           Case 2:24-cv-01349-NR Document 29-5 Filed 10/07/24 Page 15 of 27




                                                   Bureau of Elections 717-787-5280


                              CANDIDATE DECLARATION to be attached to CANDIDATE’S AFFIDAVIT
                                         where notarized statement is not available

             CANDIDATE DECLARATION - I declare that my residence, my election district and the title of the
             office for which I desire to be a candidate are as contained in the attached document, that I am
             eligible for said office, that I will not knowingly violate any election law or any law regulating
             and limiting nomination and election expenses, and prohibiting corrupt practices in connection
             therewith; that I am aware of the provisions of Section 1626 of the Pennsylvania Election Code
             requiring pre-election and post-election reporting of campaign contributions and expenditures;
             that unless I am a candidate for Judge of a Court of Common Pleas, the Philadelphia Municipal
             Court or the office of school board in a district where that office is elective or the office of
             magisterial district judge, my name has not been presented as a candidate by nomination
             petitions of any other party for the same office; that if I am a candidate for any office of a
             political party I am a registered and enrolled member of such party; that if I am a candidate for
             Committee Delegate or Alternate Delegate to the National Convention the name of the
             candidate to whom I am committed is as indicated on my nomination petition and that my
             signature on the Delegate's Statement was affixed to each page of my nomination petition prior
             to circulation of same; that I am not a candidate for an office which I already hold, the term of
             which is not set to expire on the same year as the office subject to the accompanying affidavit.


             I declare under penalty of perjury under the law of the Commonwealth of Pennsylvania that the
             foregoing is true and correct.

             Signed on the 31               (date) day of July       (month), 2024       (year), at

          Allegheny County, PA            (county or other location, and state), USA     (country).

                                                 Danielle Quattry-Comer
                                               (printed name)


                                               (signature)


             (rev. 2/21)
                         Case 2:24-cv-01349-NR Document 29-5 Filed 10/07/24 Page 16 of 27


Certificate Of Completion
Envelope Id: F0946658EF2E46F5905F8CF976D5064A                                                        Status: Completed
Subject: Complete with Docusign: Danielle Quattry-Comer - PA Elector Affidavit and Declaration.pdf
Source Envelope:
Document Pages: 2                                   Signatures: 2                                    Envelope Originator:
Certificate Pages: 5                                Initials: 0
AutoNav: Enabled
EnvelopeId Stamping: Enabled
Time Zone: (UTC-05:00) Eastern Time (US & Canada)




Record Tracking
Status: Original                                    Holder:                                          Location: DocuSign
        7/31/2024 7:55:10 PM

Signer Events                                       Signature                                        Timestamp
Danielle Quattry-Comer                                                                               Sent: 7/31/2024 7:56:34 PM
daniellequattry@gmail.com                                                                            Viewed: 7/31/2024 8:14:18 PM
Security Level: Email, Account Authentication                                                        Signed: 7/31/2024 8:14:54 PM
(None)
                                                    Signature Adoption: Drawn on Device
                                                    Using IP Address: 35.145.3.147
                                                    Signed using mobile
Electronic Record and Signature Disclosure:
   Accepted: 7/31/2024 8:14:18 PM
   ID: b567e749-7bb0-46f0-871f-99a490f35228


In Person Signer Events                             Signature                                        Timestamp

Editor Delivery Events                              Status                                           Timestamp

Agent Delivery Events                               Status                                           Timestamp

Intermediary Delivery Events                        Status                                           Timestamp

Certified Delivery Events                           Status                                           Timestamp

Carbon Copy Events                                  Status                                           Timestamp
                                                                                                     Sent: 7/31/2024 7:56:35 PM
                                                                                                     Viewed: 8/1/2024 8:45:12 AM
Security Level: Email, Account Authentication
(None)
Electronic Record and Signature Disclosure:
   Accepted: 11/29/2023 1:57:37 PM
   ID: cd4c0cda-291d-41f0-ad3a-22f12a0685a4

                                                                                                     Sent: 7/31/2024 7:56:35 PM
                                                                                                     Viewed: 7/31/2024 8:15:49 PM
Security Level: Email, Account Authentication
(None)
Electronic Record and Signature Disclosure:
   Not Offered via DocuSign


Witness Events                                      Signature                                        Timestamp

Notary Events                                       Signature                                        Timestamp
                      Case 2:24-cv-01349-NR Document 29-5 Filed 10/07/24 Page 17 of 27

Envelope Summary Events               Status                         Timestamps
Envelope Sent                         Hashed/Encrypted               7/31/2024 7:56:35 PM
Certified Delivered                   Security Checked               7/31/2024 8:14:18 PM
Signing Complete                      Security Checked               7/31/2024 8:14:54 PM
Completed                             Security Checked               7/31/2024 8:14:54 PM

Payment Events                        Status                         Timestamps
Electronic Record and Signature Disclosure
Case 2:24-cv-01349-NR Document 29-5 Filed 10/07/24 Page 18 of 27
Docusign Envelope ID: BBEDBD2B-731D-4188-9370-4E1BD4533926
                          Case 2:24-cv-01349-NR Document 29-5 Filed 10/07/24 Page 19 of 27




                                                   Bureau of Elections 717-787-5280


                             CANDIDATE DECLARATION to be attached to CANDIDATE’S AFFIDAVIT
                                        where notarized statement is not available

            CANDIDATE DECLARATION - I declare that my residence, my election district and the title of the
            office for which I desire to be a candidate are as contained in the attached document, that I am
            eligible for said office, that I will not knowingly violate any election law or any law regulating
            and limiting nomination and election expenses, and prohibiting corrupt practices in connection
            therewith; that I am aware of the provisions of Section 1626 of the Pennsylvania Election Code
            requiring pre-election and post-election reporting of campaign contributions and expenditures;
            that unless I am a candidate for Judge of a Court of Common Pleas, the Philadelphia Municipal
            Court or the office of school board in a district where that office is elective or the office of
            magisterial district judge, my name has not been presented as a candidate by nomination
            petitions of any other party for the same office; that if I am a candidate for any office of a
            political party I am a registered and enrolled member of such party; that if I am a candidate for
            Committee Delegate or Alternate Delegate to the National Convention the name of the
            candidate to whom I am committed is as indicated on my nomination petition and that my
            signature on the Delegate's Statement was affixed to each page of my nomination petition prior
            to circulation of same; that I am not a candidate for an office which I already hold, the term of
            which is not set to expire on the same year as the office subject to the accompanying affidavit.


            I declare under penalty of perjury under the law of the Commonwealth of Pennsylvania that the
            foregoing is true and correct.

            Signed on the        31        (date) day of July          (month), 2024    (year), at

              Allegheny County, PA (county or other location, and state), USA           (country).


                                                 Geraldine Tunstalle
                                              (printed name)


                                              (signature)


            (rev. 2/21)
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                      Case 2:24-cv-01349-NR Document 29-5 Filed 10/07/24 Page 21 of 27

Envelope Summary Events               Status                         Timestamps
Envelope Sent                         Hashed/Encrypted               7/31/2024 2:10:22 PM
Certified Delivered                   Security Checked               7/31/2024 6:31:46 PM
Signing Complete                      Security Checked               7/31/2024 6:33:56 PM
Completed                             Security Checked               7/31/2024 6:33:56 PM

Payment Events                        Status                         Timestamps
Case 2:24-cv-01349-NR Document 29-5 Filed 10/07/24 Page 22 of 27
Case 2:24-cv-01349-NR Document 29-5 Filed 10/07/24 Page 23 of 27
                       Case 2:24-cv-01349-NR Document 29-5 Filed 10/07/24 Page 24 of 27


Certificate Of Completion
Envelope Id: C1AF2D653CDC49078DC48DFF5095B24F                                                       Status: Completed
Subject: Complete with Docusign: Katherine Hopkins-Bot - PA Elector Affidavit and Declaration.pdf
Source Envelope:
Document Pages: 2                                   Signatures: 2                                   Envelope Originator:
Certificate Pages: 5                                Initials: 1
AutoNav: Enabled
EnvelopeId Stamping: Enabled
Time Zone: (UTC-05:00) Eastern Time (US & Canada)




Record Tracking
Status: Original                                    Holder:                                         Location: DocuSign
        7/31/2024 7:57:01 PM

Signer Events                                       Signature                                       Timestamp
KATHERINE HOPKINS-BOT                                                                               Sent: 7/31/2024 7:58:33 PM
khopkins426@gmail.com                                                                               Resent: 8/1/2024 8:34:45 AM
Security Level: Email, Account Authentication                                                       Resent: 8/1/2024 2:52:20 PM
(None)                                                                                              Viewed: 8/1/2024 3:04:59 PM
                                                    Signature Adoption: Pre-selected Style
                                                                                                    Signed: 8/1/2024 3:08:19 PM
                                                    Using IP Address: 96.245.62.27


Electronic Record and Signature Disclosure:
   Accepted: 8/1/2024 3:04:59 PM
   ID: f08d4a61-383b-4dfb-85d1-9a314239eaf7


In Person Signer Events                             Signature                                       Timestamp

Editor Delivery Events                              Status                                          Timestamp

Agent Delivery Events                               Status                                          Timestamp

Intermediary Delivery Events                        Status                                          Timestamp

Certified Delivery Events                           Status                                          Timestamp

Carbon Copy Events                                  Status                                          Timestamp
                                                                                                    Sent: 7/31/2024 7:58:34 PM
                                                                                                    Viewed: 7/31/2024 8:00:05 PM
Security Level: Email, Account Authentication
(None)
Electronic Record and Signature Disclosure:
   Accepted: 11/29/2023 1:57:37 PM
   ID: cd4c0cda-291d-41f0-ad3a-22f12a0685a4

                                                                                                    Sent: 7/31/2024 7:58:34 PM


Security Level: Email, Account Authentication
(None)
Electronic Record and Signature Disclosure:
   Not Offered via DocuSign


Witness Events                                      Signature                                       Timestamp

Notary Events                                       Signature                                       Timestamp
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Envelope Summary Events               Status                         Timestamps
Envelope Sent                         Hashed/Encrypted               7/31/2024 7:58:34 PM
Certified Delivered                   Security Checked               8/1/2024 3:04:59 PM
Signing Complete                      Security Checked               8/1/2024 3:08:19 PM
Completed                             Security Checked               8/1/2024 3:08:19 PM

Payment Events                        Status                         Timestamps
Electronic Record and Signature Disclosure
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